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 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-210 JAM
12                                  Plaintiff,            STIPULATION REGARDING SENTENCING OF
                                                          LEAH ISOM AND VANIK ATOYAN; FINDINGS
13                           v.                           AND ORDER
14   VERA KUZMENKO, ET AL.,                               DATE: January 19, 2016
                                                          TIME: 9:15 a.m.
15                                  Defendants.           COURT: Hon. John A. Mendez
16

17                                                STIPULATION

18          1.     By previous order, this matter was set for sentencing on January 19, 2016.

19          2.     By this stipulation, defendants now move to continue the sentencing until May 3, 2016 at

20 9:15 a.m. in order to give probation time to prepare Presentence Investigation Reports (“PSRs”) and for

21 the parties to respond.

22          3.     The parties agree and stipulate, and request that the Court find the following:

23                 a)        Both Vanik Atoyan’s and Leah Isom’s cases should be referred to probation for

24          the creation of PSRs.

25                 b)        The schedule for the disclosure of the PSRs, the parties’ responses and the

26          sentencing is the following:

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      STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS     1
      AND ORDER
              Case 2:11-cr-00210-DAD Document 750 Filed 01/15/16 Page 2 of 3
       Date of Referral to Probation Officer:                        January 15, 2016

 1
       Judgment and Sentencing Date:                                 May 3, 2016 @ 9:15 A.M.
 2

 3     Reply, or Statement of Non-Opposition:                        April 26, 2016
                                                                     (1 week before sentencing)
 4
       Motion for Correction of the Presentence Report Shall be Filed April 19, 2016
 5     with the Court and Served on the Probation Officer and         (2 weeks before sentencing)
       Opposing Counsel no Later Than:
 6
       The Pre-Sentence Report Shall be Filed with the Court and     April 12, 2016
 7     Disclosed to Counsel no Later Than:                           (3 weeks before sentencing)
       Counsel’s Written Objections to the Presentence Report Shall April 5, 2016
 8     be Delivered to the Probation Officer and Opposing Counsel (4 weeks before sentencing)
       no Later Than:
 9     The Proposed Presentence Report Shall be Disclosed to        March 22, 2016
       Counsel no Later Than:                                       (6 weeks before sentencing)
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12          IT IS SO STIPULATED.
13
     Dated: January 14, 2016                                   BENJAMIN B. WAGNER
14                                                             United States Attorney
15
                                                               /s/ LEE S. BICKLEY
16                                                             LEE S. BICKLEY
                                                               Assistant United States Attorney
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20 Dated: January 14, 2016                                     /s/ GARY A. TALESFORE
21                                                             GARY A. TALESFORE
                                                               Counsel for Defendant
22                                                             VANIK ATOYAN

23
     Dated: January 14, 2016                                   /s/ CANDACE A. FRY
24                                                             CANDACE A. FRY
                                                               Counsel for Defendant
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                                                               LEAH ISOM
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      STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS      2
      AND ORDER
            Case 2:11-cr-00210-DAD Document 750 Filed 01/15/16 Page 3 of 3


 1                                         FINDINGS AND ORDER

 2        IT IS SO FOUND AND ORDERED this 14th day of January, 2016.

 3
                                                       /s/ John A. Mendez
 4                                                     THE HONORABLE JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS     3
     AND ORDER
